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                            WILLIAM H. MURPHY III
                              Murphy, Falcon & Murphy
       Complete curriculum vitae and profiles available at www.murphyfalcon.com


EDUCATION:       Georgetown University Law Center, J.D. 1994
                 Williams College, B.A. Political Science 1990

PROFILE:         Mr. Murphy is the managing partner of Murphy, Falcon & Murphy, a
                 position he has held since 1999. Before joining Murphy, Falcon & Murphy,
                 he was an associate at Curtis, Mallet-Provost, Colt and Mosle in New York,
                 where he specialized in mergers and acquisitions, corporate finance, and
                 bankruptcy. As a result of his leadership Murphy, Falcon & Murphy has
                 become a premier boutique law firm with a reputation for creative litigation
                 strategies that are backed by aggressive representation. Mr. Murphy has
                 been named National Trial Lawyer of the Year by Trial Lawyers for Public
                 Justice, Top 100 Black Lawyers in America and one of the top 100 Most
                 Influential Marylanders. He has also served on the Board of Governors and
                 as an officer of the Maryland Association for Justice. In addition to his peer
                 recognized legal achievements, Mr. Murphy is active on several Boards,
                 including the Monumental City Bar Foundation, the University of Maryland
                 School of Law Board of Visitors, University System of Maryland
                 Foundation, and Network for Teaching Entrepreneurship.
CLASS ACTION
EXPERIENCE:      Mr. Murphy has significant complex litigation experience representing
                 clients in nationwide class actions, as both defense and plaintiffs’ counsel,
                 with a stellar track record of settlements and verdicts in a broad spectrum of
                 cases, including fraud, negligence, gross negligence, False Claims Act,
                 fraudulent marketing and advertising, and civil rights. Mr. Murphy is
                 currently on the Plaintiffs Steering Committee in In Re Equifax, Inc.,
                 Customer Data Security Breach Litigation, MDL No. 2800 (N.D. Ga.), Lead
                 Plaintiffs’ Counsel in Fallows, et al. v. St. Joseph Medical Center, Inc.
                 (2014) (Circuit Court for Baltimore City, Maryland), a certified class action
                 on behalf of patients who had unnecessary stents placed by Dr. Mark Midei;
                 settlement counsel for Defendant in Do Right’s Plant Growers, et al. v. RSM
                 Equico, Inc., et al. (2011) (Superior Court for Orange County, California);
                 Lead Plaintiff’s Counsel in Queen v. Constellation Power Source
                 Generation, Inc. (2009) (Circuit Court for Baltimore City, Maryland), a
                 groundwater contamination case; counsel for defendant in Billieson, et al. v.
                 Scottsdale Ins. and Hous. Auth. of New Orleans (2007) (Civil District Court
                 for the Parish of Orleans, Louisiana), a $5 billion class action brought
                 against defendants by 2,400 children injured by lead paint; counsel for
                 defendant in In re H&R Block, Inc., Express IRA Marketing Litigation
                 (2006) (United States District Court, Western District of Missouri); national
                 coordinating counsel for defendant in H&R Block Refund Anticipation
                 Loan Litigation (2003) (nationwide), that included two national class actions
                 and four state-class actions where he successfully litigated and resolved all
                 cases; counsel for Defendant in People of the State of New York, by the
                 Attorney General v. H&R Block, Inc., et al. (2006) (Supreme Court of New
                 York City, New York), a parens patriae action brought by the Attorney
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                General of the State of New York for fraudulent and deceptive practices;
                Counsel for defendant McNulty, et al. v. H&R Block, Inc., et al. (2002)
                (Court of Common Pleas of Lackawanna County, Commonwealth of
                Pennsylvania), settling a statewide class action based on electronic filing
                fees charged to consumers; counsel for Defendant in Lynne A. Carnegie, et
                al. v. H&R Block, Inc., et al. (2003) (United States District Court, Northern
                District of Illinois), settling a nationwide class action alleging violations of
                the Truth in Lending Act and the Racketeer Influenced and Corrupt
                Organizations Act; counsel for defendant in Cummins, et al. v. H&R Block,
                Inc., et al. (2003) (Circuit Court of Kanawha County, West Virginia),
                settling a nationwide class action based on H&R Block’s Refund
                Anticipation Loan product. Mr. Murphy, along with Paul Hastings, LLP,
                also successfully defended the Microsoft Corporation in two separate $5
                billion race discrimination class action cases brought by Willie Gary and
                Johnnie Cochran, respectively, resulting in the dismissal of the class
                allegations in the first case and denial of class certification in the second
                case.

FIRM HONORS AND ACCOMPLISHMENTS:

                Murphy, Falcon & Murphy is an African-American-owned firm featuring an
                ethnically diverse group of elite trial lawyers. It has represented both
                plaintiffs and defendants in litigation involving some of the largest
                corporations in the country, achieving notable results in complex, high-
                profile cases. Murphy, Falcon & Murphy has a unique track record of
                successes with over $850,000,000 million in verdicts and settlements,
                including: a $276 million settlement in a commercial litigation bank fraud
                case; a $185 million settlement against Ernst & Young; a $54 million
                settlement in an environmental torts case; a $50 million class action
                settlement from a Baltimore-area hospital for unnecessary stent procedures;
                a $44 million civil rights verdict on behalf of a man paralyzed by an
                altercation with police; a $41.5 million class action commercial litigation
                settlement involving fraud and breach of contract; a $34.4 million verdict on
                behalf of restaurant workers who suffered brain damage from Carbon
                Monoxide poisoning; a $33.6 million civil rights judgment for an NFL
                player defrauded by investors; and a $6.4 million civil rights settlement in
                the Freddie Gray police brutality lawsuit. Its highly skilled trial lawyers
                have handled thousands of trials, on both sides of the table, and their
                approach to litigation has translated into a history of litigation success, both
                in the courtroom and in settlement negotiations. Murphy, Falcon & Murphy
                is recognized both locally and nationally for its excellence in representing
                both plaintiffs and defendants because of its willingness to work with
                counsel to reach the most fair and just resolution for everyone involved.
